                              Case 23-10286-RAM
 Fill in this information to identify the case:
                                                              Doc      Filed 05/05/23           Page 1 of 10

 Debtor 1          Pedro Aurelio De Azevedo Cunha

 Debtor 2
 (Spouse, if filing)

                                              Southern          Florida
 United States Bankruptcy Court for the: _________ District of�---
                                                              (State)
 Case number           23-10286-RAM




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                         1211s

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.


                   Michigan West Association, Inc.                                                                  3
                                                                                     Court claim no. (if known): ________
 Name of creditor: ___________________

 Last 4 digits of any number you use to
 identify the debtor's account:

 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
 □X No
 D Yes. Date of the last notice: __/__/__

■:;, • • � Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor's mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously
 approved an amount, indicate that approval in parentheses after the date the amount was incurred.

      Description                                                   Dates incurred                                        Amount

  1. Late charges                                                   Please see Exhibit A attached for               (1)   $
  2. Non-sufficient funds (NSF) fees                                itemization of all Postpetition Fees,           (2)   $
                                                                    Expenses, and Charges.
  3. Attorney fees                                                                                                  (3)   $
  4. Filing fees and court costs                                                                                    (4)   $
  5. Bankruptcy/Proof of claim fees                                                                                 (5)   $
  6. Appraisal/Broker's price opinion fees                                                                          (6)   $
  7. Property inspection fees                                                                                       (7)   $
  8. Tax advances (non-escrow)                                                                                      (8)   $
  9. Insurance advances (non-escrow)                                                                                (9)   $
 10. Property preservation expenses. Specify:                                                                      (10)   $
 11. Other. Specify:                                                                                               (11)   $
 12. Other. Specify:                                                                                               (12)   $
 13. Other. Specify:                                                                                               (13)   $
 14. Other. Specify:                                                                                               (14)   $


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


Official Form 410S2                          Notice of Postpetition Mortgage Fees, Expenses, and Charges                           page 1


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    Pedro Aurelio De Azevedo Cunha                                     23-10286-RAM




X




                                                         05 / 05 / 2023


      Robert Waldbillig                                     Director


     Michigan West Association, Inc.

     910 Michigan Ave.

      Miami Beach                      FL     33009


      786   298     2050                                   jorge@questmanagementgroup.com




                                                         Doc ID: ec689dfd5ccf68b9667d5909fb99f8f1b42434b3
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                                       Exhibit A


Description                                    Dates incurred        Amount
11. Other. Specify: Maintenance fee            2/1/23                $486.00
12. Other. Specify: Maintenance fee            3/1/23                $486.00
13. Other. Specify: Paint costs                3/1/23                $1,905.00
14. Other. Specify: Paint costs                4/1/23                $1,905.00
15. Other. Specify: Maintenance fee            4/1/23                $486.00
16. Other. Specify: Maintenance fee            5/1/23                $486.00




                                                        Doc ID: ec689dfd5ccf68b9667d5909fb99f8f1b42434b3
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Michigan West Condominium Association                                                     Statement
C/o Quest Management Group
P.O. Box 651906                                                                                           Date
Miami, FL 33265
Phone: (786) 298-2050/Fax: (786) 272-0116                                                                5/2/2023




     To:
   P.A. De Azevedo, LLC
   Pedro A De Azevedo Cunha
   910 Michigan Ave, Apt 506
   Miami, FL 33139




                                                                                    Amount Due                      Amount Enc.
                                                                                     $4,529.00

  Date                                     Transaction                                Amount                          Balance

10/31/2021   Balance forward                                                                                                    0.00
10/01/2022   INV #24. Due 10/01/2022.                                                      2,177.00                         2,177.00
             "PAYMENTS IN FULL"
             --- Concrete Restoration $2,177.00
10/10/2022   INV #58. Due 10/10/2022.                                                            25.00                      2,202.00
             --- Late Fee $25.00
11/10/2022   INV #59. Due 11/10/2022.                                                            25.00                      2,227.00
             --- Late Fee $25.00
12/01/2022   INV #51. Due 12/01/2022.                                                      2,177.00                         4,404.00
             "PAYMENTS IN FULL"
             --- Concrete Restoration $2,177.00
12/10/2022   INV #60. Due 12/10/2022.                                                            25.00                      4,429.00
             --- Late Fee $25.00
01/10/2023   INV #79. Due 01/10/2023.                                                            25.00                      4,454.00
             --- Late Fee $25.00
02/10/2023   INV #78. Due 02/10/2023.                                                            25.00                      4,479.00
             --- Late Fee $25.00
03/01/2023   INV #97. Due 03/01/2023.                                                            25.00                      4,504.00
             --- Late Fee $25.00
04/10/2023   INV #96. Due 04/10/2023.                                                            25.00                      4,529.00
             --- Late Fee $25.00




                    1-30 DAYS PAST          31-60 DAYS PAST    61-90 DAYS PAST       OVER 90 DAYS
 CURRENT                                                                                                             Amount Due
                          DUE                     DUE                DUE               PAST DUE

     0.00                  25.00                  0.00              50.00               4,454.00                      $4,529.00




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Michigan West Condominium Association                                                       Statement
C/o Quest Management Group
P.O. Box 651906                                                                                             Date
Miami, FL 33265
Phone: (786) 298-2050/Fax: (786) 272-0116                                                                  5/4/2023




     To:
   P.A. De Azevedo, LLC
   Pedro A De Azevedo Cunha
   910 Michigan Ave, Apt 506
   Miami, FL 33139




                                                                                      Amount Due                      Amount Enc.
                                                                                       $5,084.26

  Date                                     Transaction                                  Amount                          Balance

10/31/2022   Balance forward                                                                                                  9,564.37
11/01/2022   INV #4339. Due 11/01/2022.                                                          486.00                      10,050.37
             --- Maintenance Fee $486.00
11/10/2022   INV #4366. Due 11/10/2022.                                                            25.00                     10,075.37
             --- Late Fee $25.00
12/01/2022   INV #4362. Due 12/01/2022.                                                          486.00                      10,561.37
             --- Maintenance Fee $486.00
12/10/2022   INV #4367. Due 12/10/2022.                                                            25.00                     10,586.37
             --- Late Fee $25.00
12/20/2022   PMT #847333.                                                                    -8,032.11                        2,554.26
01/01/2023   INV #4391. Due 01/01/2023.                                                         486.00                        3,040.26
             --- Maintenance Fee $486.00
01/10/2023   INV #4427. Due 01/10/2023.                                                            25.00                      3,065.26
             --- Late Fee $25.00
02/01/2023   INV #4423. Due 02/01/2023.                                                          486.00                       3,551.26
             --- Maintenance Fee $486.00
02/10/2023   INV #4428. Due 02/10/2023.                                                            25.00                      3,576.26
             --- Late Fee $25.00
03/01/2023   INV #4452. Due 03/01/2023.                                                          486.00                       4,062.26
             --- Maintenance Fee $486.00
03/10/2023   INV #4511. Due 03/10/2023.                                                            25.00                      4,087.26
             --- Late Fee $25.00
04/01/2023   INV #4478. Due 04/01/2023.                                                          486.00                       4,573.26
             --- Maintenance Fee $486.00
04/10/2023   INV #4484. Due 04/10/2023.                                                            25.00                      4,598.26
             --- Late Fee $25.00
05/01/2023   INV #4509. Due 05/01/2023.                                                          486.00                       5,084.26
             --- Maintenance Fee $486.00




                    1-30 DAYS PAST         31-60 DAYS PAST      61-90 DAYS PAST        OVER 90 DAYS
 CURRENT                                                                                                               Amount Due
                          DUE                    DUE                  DUE                PAST DUE

     0.00                 511.00                 511.00              511.00               3,551.26                      $5,084.26




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Michigan West Condominium Association                                                      Statement
C/o Quest Management Group
P.O. Box 651906                                                                                            Date
Miami, FL 33265
Phone: (786) 298-2050/Fax: (786) 272-0116                                                                 5/2/2023




     To:
   P.A. De Azevedo, LLC
   Pedro A De Azevedo Cunha
   910 Michigan Ave, Apt 506
   Miami, FL 33139




                                                                                     Amount Due                      Amount Enc.
                                                                                      $5,160.02

  Date                                    Transaction                                  Amount                          Balance

10/31/2021   Balance forward                                                                                                 1,410.01
11/01/2021   INV #513. Due 11/16/2021.                                                          766.67                       2,176.68
             --- Special Assessment $766.67
11/25/2021   INV #514. Due 11/10/2021.                                                            25.00                      2,201.68
             --- Late Fee $25.00
12/15/2021   INV #538. Due 12/30/2021.                                                          766.67                       2,968.35
             --- Special Assessment $766.67
12/23/2021   INV #557. Due 12/23/2021.                                                            25.00                      2,993.35
             --- Late Fee $25.00
01/15/2022   INV #581. Due 01/30/2022.                                                          766.67                       3,760.02
             --- Special Assessment $766.67
01/25/2022   INV #590. Due 01/25/2022.                                                            25.00                      3,785.02
             --- Late Fee $25.00
02/10/2022   INV #595. Due 02/10/2022.                                                            25.00                      3,810.02
             --- Late Fee $25.00
03/10/2022   INV #596. Due 03/10/2022.                                                            25.00                      3,835.02
             --- Late Fee $25.00
04/10/2022   INV #598. Due 04/10/2022.                                                            25.00                      3,860.02
             --- Late Fee $25.00
05/10/2022   INV #599. Due 05/10/2022.                                                            25.00                      3,885.02
             --- Late Fee $25.00
06/10/2022   INV #600. Due 06/10/2022.                                                            25.00                      3,910.02
             --- Late Fee $25.00
06/23/2022   INV #624. Due 06/23/2022.                                                      1,000.00                         4,910.02
             --- Special Assessment Cover Expen $1,000.00
07/10/2022   INV #625. Due 07/10/2022.                                                            25.00                      4,935.02
             --- Late Fee $25.00
08/10/2022   INV #633. Due 08/10/2022.                                                            25.00                      4,960.02
             --- Late Fee $25.00
09/10/2022   INV #642. Due 09/10/2022.                                                            25.00                      4,985.02
             --- Late Fee $25.00
10/10/2022   INV #648. Due 10/10/2022.                                                            25.00                      5,010.02
             --- Late Fee $25.00

                    1-30 DAYS PAST         31-60 DAYS PAST      61-90 DAYS PAST       OVER 90 DAYS
 CURRENT                                                                                                              Amount Due
                          DUE                    DUE                  DUE               PAST DUE

     0.00                 25.00                   0.00               50.00               5,085.02                      $5,160.02



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Michigan West Condominium Association                                                   Statement
C/o Quest Management Group
P.O. Box 651906                                                                                         Date
Miami, FL 33265
Phone: (786) 298-2050/Fax: (786) 272-0116                                                              5/2/2023




     To:
   P.A. De Azevedo, LLC
   Pedro A De Azevedo Cunha
   910 Michigan Ave, Apt 506
   Miami, FL 33139




                                                                                  Amount Due                      Amount Enc.
                                                                                   $5,160.02

  Date                                   Transaction                                Amount                          Balance

11/10/2022   INV #649. Due 11/10/2022.                                                         25.00                      5,035.02
             --- Late Fee $25.00
12/10/2022   INV #650. Due 12/10/2022.                                                         25.00                      5,060.02
             --- Late Fee $25.00
01/10/2023   INV #656. Due 01/10/2023.                                                         25.00                      5,085.02
             --- Late Fee $25.00
02/10/2023   INV #657. Due 02/10/2023.                                                         25.00                      5,110.02
             --- Late Fee $25.00
03/01/2023   INV #661. Due 03/01/2023.                                                         25.00                      5,135.02
             --- Late Fee $25.00
04/10/2023   INV #660. Due 04/10/2023.                                                         25.00                      5,160.02
             --- Late Fee $25.00




                    1-30 DAYS PAST       31-60 DAYS PAST     61-90 DAYS PAST       OVER 90 DAYS
 CURRENT                                                                                                           Amount Due
                          DUE                  DUE                 DUE               PAST DUE

     0.00                 25.00                 0.00              50.00               5,085.02                      $5,160.02



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Michigan West Condominium Association                                                      Statement
C/o Quest Management Group
P.O. Box 651906                                                                                            Date
Miami, FL 33265
Phone: (786) 298-2050/Fax: (786) 272-0116                                                                 5/2/2023




     To:
   P.A. De Azevedo, LLC
   Pedro A De Azevedo Cunha
   910 Michigan Ave, Apt 506
   Miami, FL 33139




                                                                                     Amount Due                      Amount Enc.
                                                                                      $1,625.00

  Date                                    Transaction                                  Amount                          Balance

10/31/2021   Balance forward                                                                                                     0.00
11/01/2022   INV #24. Due 11/01/2022.                                                       1,500.00                         1,500.00
             "PAYMENTS IN FULL"
             --- Outstanding Vendors/Elev/Plumb $1,500.00
11/10/2022   INV #26. Due 11/10/2022.                                                             25.00                      1,525.00
             --- Late Fee $25.00
12/10/2022   INV #27. Due 12/10/2022.                                                             25.00                      1,550.00
             --- Late Fee $25.00
01/10/2023   INV #41. Due 01/10/2023.                                                              0.00                      1,550.00
             VOID:
             --- Late Fee $0.00
01/10/2023   INV #43. Due 01/10/2023.                                                             25.00                      1,575.00
             --- Late Fee $25.00
02/10/2023   INV #42. Due 02/10/2023.                                                             25.00                      1,600.00
             --- Late Fee $25.00
04/10/2023   INV #57. Due 04/10/2023.                                                             25.00                      1,625.00
             --- Late Fee $25.00




                    1-30 DAYS PAST         31-60 DAYS PAST      61-90 DAYS PAST       OVER 90 DAYS
 CURRENT                                                                                                              Amount Due
                          DUE                    DUE                  DUE               PAST DUE

     0.00                 25.00                    0.00              25.00               1,575.00                      $1,625.00




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Michigan West Condominium Association                                                        Statement
C/o Quest Management Group
P.O. Box 651906                                                                                              Date
Miami, FL 33265
Phone: (786) 298-2050/Fax: (786) 272-0116                                                                   5/2/2023




     To:
   P.A. De Azevedo, LLC
   Pedro A De Azevedo Cunha
   910 Michigan Ave, Apt 506
   Miami, FL 33139




                                                                                       Amount Due                      Amount Enc.
                                                                                        $5,765.00

  Date                                     Transaction                                   Amount                          Balance

10/31/2021   Balance forward                                                                                                       0.00
03/01/2023   INV #24. Due 03/01/2023.                                                         1,905.00                         1,905.00
             --- Paint & Outstanding Invoices $1,905.00
             ---
             ---
             ---
             --- "1 OF 3 PAYMENTS"
03/10/2023   INV #117. Due 04/10/2023.                                                              25.00                      1,930.00
             --- Late Fee $25.00
04/01/2023   INV #70. Due 04/01/2023.                                                         1,905.00                         3,835.00
             --- Paint & Outstanding Invoices $1,905.00
             ---
             ---
             ---
             --- "2 OF 3 PAYMENTS"
04/10/2023   INV #143. Due 04/10/2023.                                                              25.00                      3,860.00
             --- Late Fee $25.00
05/01/2023   INV #142. Due 05/01/2023.                                                        1,905.00                         5,765.00
             --- Paint & Outstanding Invoices $1,905.00
             ---
             ---
             ---
             --- "3 OF 3 PAYMENTS"




                    1-30 DAYS PAST          31-60 DAYS PAST     61-90 DAYS PAST         OVER 90 DAYS
 CURRENT                                                                                                                Amount Due
                          DUE                     DUE                 DUE                 PAST DUE

     0.00                1,955.00                 1,905.00          1,905.00                 0.00                        $5,765.00




                                                                               Doc ID: ec689dfd5ccf68b9667d5909fb99f8f1b42434b3
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was served on May 5,
2023 to all parties on the list to receive e-mail notice/service for this case, via the Notice of
Electronic Filing (which is incorporated herein by reference) and via U.S. Mail to Miami Dade
County Tax Collector, 200 NW 2nd Ave #430, Miami, FL 33128 and Synchrony Bank, PRA
Receivables Management, LLC, PO Box 41021, Norfolk, VA 23541.

                                                    By:_________/s/________________
                                                          Zach B. Shelomith
